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---------- Forwarded message ---------
From: Alison Franciscus
<afranciscus813@gmail.com>
Date: Sun, Jan 21, 2024, 2:27 PM
Subject: Fwd:
To: Alison Franciscus <franciscus@rite4justice.com>

                         EXHIBIT 2


---------- Forwarded message ---------
From: Alison Franciscus
<afranciscus813@gmail.com>
Date: Wed, Jan 3, 2024, 10:52 AM
Subject: Fwd:
To: <marcy@floridaanimallawyer.com>




---------- Forwarded message ---------
From: Bricker, Michael <MBricker@coj.net>
Date: Mon, Nov 20, 2023, 9:33 AM
Subject: Re:
To: Alison Franciscus <afranciscus813@gmail.com>,
Buffa, Franny <FBuffa@coj.net>
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Good morning, Alison,
We truly value your commitment to our cause, but we want
to emphasize that we're looking for individuals who share
our vision of collaboration and problem-solving. As I
mentioned in our face to face meeting, to create a positive
and effective team, it's crucial that everyone is aligned in
their efforts to help, not hinder, our mission.
While your dedication is appreciated, we haven't seen
evidence of the collaborative spirit and solution-focused
approach we aim for in our team. Here at Animal Care and
Protective Services, we believe in working together to
overcome challenges and and by doing that, we'll make a
greater impact for the animals that we all care about.
If in the future you're willing to embrace a more
collaborative mindset and actively contribute to finding
solutions, we would love to have you back on board. Please
let Franny and I know if things change and if you're willing to
work together to make a meaningful difference for the
animals in our care.
Thank you again,
Michael Bricker
Chief, Animal Care and Protective Services
2020 Forest St. Jacksonville, FL 32204
904.778.5652
                                                                EXHIBIT 2
